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                                                               UNITED STATES BANKRUPTCY COURT
                                                                  MIDDLE DISTRICT OF FLORIDA

 IN RE:                                                                                CASE NO.:
                     Xavier Charles Alexander Washington, II

                     Debtor(s)

                                                                     Initial CHAPTER 13 PLAN


A.          NOTICES.

Debtor1 must check one box on each line to state whether or not the Plan includes each of the following items. If an item is checked as “Not
Included,” if both boxes are checked, or if neither box is checked, the provision will be ineffective if set out later in the Plan.
 A limit on the amount of a secured claim based on a valuation which may result in a partial payment or    Included               Not Included
 no payment at all to the secured creditor. See Sections C.5(d) and (e). A separate motion will be filed.
 Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest under 11 U.S.C. §      Included               Not Included
 522(f). A separate motion will be filed. See Section C.5(e).
 Provisions for student loan(s), set out in Section E.                                                     Included               Not Included
 Nonstandard provisions, set out in Section E.                                                             Included               Not Included
 THIS AMENDED PLAN PROVIDES FOR PAYMENTS TO CREDITOR/LESSOR [NAME OF                                       Included               Not Included
 SECURED CREDITOR/LESSOR] TO BE INCLUDED IN PLAN PAYMENTS; THE AUTOMATIC
 STAY IS REINSTATED AS TO THIS CREDITOR.

NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A SECURED CREDITOR UNDER SECTION C.5(i) OF
THIS PLAN, TO SURRENDER THE SECURED CREDITOR’S COLLATERAL UNDER SECTION C.5(j), TO NOT MAKE PAYMENTS
TO THE SECURED CREDITOR UNDER SECTION C.5(k), OR IF PAYMENTS TO A SECURED CREDITOR ARE NOT
SPECIFICALLY INCLUDED IN THE PLAN PAYMENTS, THE AUTOMATIC STAY DOES NOT APPLY, AND THE CREDITOR MAY
TAKE ACTION TO FORECLOSE OR REPOSSESS THE COLLATERAL.

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR LOANS, AND OTHER LOANS FOR WHICH THE
SECURED CREDITOR HAS A SECURITY INTEREST IN PERSONAL OR REAL PROPERTY COLLATERAL.

B.          MONTHLY PLAN PAYMENTS. Plan payments (“Plan Payments”) include the Trustee’s fee of 10% and shall begin 30 days from petition
            filing/conversion date. Debtor shall make Plan Payments to the Trustee for the period of 60 months.If the Trustee does not retain the full
            10%, any portion not retained will be disbursed to allowed claims receiving payments under the Plan and may cause an increased distribution
            to the unsecured class of creditors.

                 $    4640.00                                        from month 1              through 60              .
                 $                                                   from month                through                 .


C.          PROPOSED DISTRIBUTIONS.
            1.    ADMINISTRATIVE ATTORNEY’S FEES.

                 Base Fee $ 5,000.00                   Total Paid Prepetition $ 3,644.00                    Balance Due $ 1,356.00
                 MMM FEE $ 0.00                        Total Paid Prepetition $ 0.00                        Balance Due $ 0.00
                 Estimated Monitoring Fee at $ 50.00                      per Month.
                 Attorney's Fees Payable Through Plan at $ 500.00               Monthly (subject to adjustment).

            2.          DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 Acct. No.                                           Creditor                                                               Total Claim Amount
 NONE-

            3.          PRIORITY CLAIMS: (as defined in 11 U.S.C. §507).

 Last Four Digits of Acct. No.                       Creditor                                                               Total Claim Amount
 NONE-

          4.        TRUSTEE FEES. From each Plan Payment received from Debtor, the Trustee shall receive a fee, the percentage of which is fixed
periodically by the United States Trustee.


1 All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.

                                                                                                                           Effective December 4, 2023
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          5.         SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under the Plan, other than amounts allocated to
cure arrearages, shall be deemed adequate protection payments. The Trustee shall disburse adequate protection payments to secured creditors prior to
confirmation, as soon as practicable, if the Plan provides for payment to the secured creditor, the secured creditor has filed a proof of claim, or Debtor
or Trustee has filed a proof of claim for the secured creditor under 11 U.S.C. § 501(c), and no objection to the claim is pending. If Debtor’s Plan
Payments are timely paid, payments to secured creditors under the Plan shall be deemed contractually paid on time.

                        (a) Claims Secured by Debtor’s Principal Residence that Debtor Intends to Retain - Mortgage, HOA and Condominium
                        Association Assessments, and Arrears, if any, Paid Through the Plan Under 11 U.S.C. § 1322(b)(5). Debtor will cure
                        prepetition arrearages and maintain regular monthly postpetition payments on the following claims secured by Debtor’s principal
                        residence. Under 11 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of personal liability on these claims.

                        Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments are due on the first payment due date
                        after the case is filed and continue monthly thereafter. The amount of postpetition mortgage payments may be adjusted as provided
                        for under the loan documents. Postpetition ongoing homeowner’s association and condominium association assessments may be
                        included in the Plan or may be paid direct. If Debtor intends to pay postpetition assessments through the Plan, list the Regular
                        Monthly Payment. If Debtor intends to pay postpetition assessments direct, state “Direct” in the Regular Monthly Payment column

 Last Four              Creditor               Collateral                                Regular                     Gap Payment                 Arrears
 Digits of Acct.                               Address                                   Monthly
 No.                                                                                     Payment
 xxxx                   IRS- Special           6211 S Macdill Ave Unit 1, Tampa, FL                           0.00              0.00               20,000
                        Procedures             33611
                                               Hillsborough County
 xxxx                   Avenida De             6211 S Macdill Ave Unit 1, Tampa, FL                           0.00               0.00           47468.60
                        Flores                 33611
                        Townhomesa
 xxxx                   Shellpoint             6211 S Macdill Ave Unit 1, Tampa, FL                       1982.07               0.00            60299.78
                        Mortgage               33611
                        Servicing              Hillsborough County

                        (b) Claims Secured by Other Real Property that Debtor Intends to Retain - Mortgage, HOA and Condominium Association
                        Assessments, and Arrears, if any, Paid Through the Plan Under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition arrearages
                        and maintain regular monthly postpetition payments on the following claims secured by Debtor’s real property. Under 11 U.S.C. §
                        1328(a)(1), Debtor will not receive a discharge of personal liability on these claims.

                        Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments are due on the first payment due date
                        after the case is filed and continue monthly thereafter. The amount of postpetition mortgage payments may be adjusted as provided
                        for under the loan documents. Postpetition ongoing homeowner’s association and condominium association assessments may be
                        included in the Plan or may be paid direct. If Debtor intends to pay postpetition assessments through the Plan, list the Regular
                        Monthly Payment. If Debtor intends to pay postpetition assessments direct, state “Direct” in the Regular Monthly Payment column.

 Last Four              Creditor               Collateral                                Regular                     Gap Payment                 Arrears
 Digits of Acct.                               Address                                   Monthly
 No.                                                                                     Payment
 none


                        (c) Claims Secured by Real Property — Debtor Seeks Mortgage Modification Mediation (MMM). No later than 90 days
                        from the petition date or the date the case converts to Chapter 13, Debtor shall file a motion seeking MMM. Information
                        and forms related to MMM are available in the Court’s Procedure Manual on the Court’s website, www.flmb.uscourts.gov.
                        Pending the resolution of the MMM, the Plan Payments must include the following adequate protection payments to the Trustee:
                        (1) for homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing spouse, if any (after deducting
                        homeowner’s association fees), or the normal monthly contractual mortgage payment; or (2) for non-homestead, income-producing
                        property, 75% of the gross rental income generated from the property. Notwithstanding the foregoing, the adequate protection
                        payment must be no less than the amount sufficient to pay (1) homeowner’s association fees, and (2) 1/12 of the annual ad valorem
                        property taxes and annual homeowner's insurance premium. If Debtor obtains a modification of the mortgage, the modified
                        payments must be included in the Plan Payments. Debtor will not receive a discharge of personal liability on these claims.

 Last Four Digits of            Creditor                       Collateral Address                                                 Adequate Protection
 Acct. No.                                                                                                                                  Payment
 NONE-

                        (d) Claims Secured by Real Property or Personal Property to Which 11 U.S.C. § 506 Valuation APPLIES (Strip Down).
                        Under 11 U.S.C. § 1322(b)(2), this provision does not apply to a claim secured solely by Debtor’s principal residence. A separate
                        motion to determine secured status or to value the collateral must be filed. Payment on the secured portion of the claim,
                        estimated below, is included in the Plan Payments. Unless otherwise stated in Section E, the Plan Payments do not include
                        payments for escrowed property taxes or insurance.
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 Last Four         Creditor                    Collateral                             Claim                   Value               Payment           Interest
 Digits of                                     Description/                          Amount                                       Through              Rate
 Acct. No.                                     Address                                                                               Plan
 none

                        (e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C. § 506. Debtor must file a separate motion under
                        11 U.S.C. § 522 to avoid a judicial lien or a nonpossessory, nonpurchase money security interest because it impairs an exemption or
                        under 11 U.S.C. § 506 to determine secured status and to strip a lien.

 Last Four Digits of Acct. No.                      Creditor                                  Collateral Description/
                                                                                              Address
 NONE-



                        (f) Payments on Claims Secured by Real Property and/or Personal Property to Which 11 U.S.C. § 506 Valuation DOES
                        NOT APPLY Under the Final Paragraph in 11 U.S.C. § 1325(a). The claims listed below were either: (1) incurred within 910
                        days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for Debtor’s personal
                        use; or (2) incurred within one year of the petition date and secured by a purchase money security interest in any other thing of
                        value. These claims will be paid in full under the Plan with interest at the rate stated below.

 Last Four                    Creditor                 Collateral                           Claim                 Payment                     Interest Rate
 Digits of Acct.                                       Description/                        Amount             Through Plan
 No.                                                   Address
 NONE-


                        (g) Claims Secured by Real or Personal Property to be Paid with Interest Through the Plan Under 11 U.S.C. § 1322(b)(2)
                        and § 1322(c)(2) (for claims secured by Debtor’s principal residence that mature during the Plan). The following secured
                        claims will be paid in full under the Plan with interest at the rate stated below.

 Last Four Digits of          Creditor                 Collateral                    Claim Amount         Payment Through                     Interest Rate
 Acct No.                                              Description/Address                                           Plan
 NONE-


                        (h) Claims Secured by Personal Property – Maintaining Regular Payments and Curing Arrearages, if any, Under 11 U.S.C.
                        § 1325(b)(5). Under 11 U.S.C. § 1328(a)(1), unless the principal amount of the claim is paid in full through the Plan, Debtor will
                        not receive a discharge of personal liability on these claims.

 Last Four              Creditor                       Collateral               Regular                                                          Arrearage
 Digits of Acct                                        Description              Contractual
 No.                                                                            Payment
 none


                        (i) Secured Claims Paid Directly by Debtor. The following secured claims are being made via automatic debit/draft from
                        Debtor’s depository account and will continue to be paid directly to the creditor or lessor by Debtor outside the Plan via automatic
                        debit/draft. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam
                        as to any codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is intended to terminate or abrogate
                        Debtor’s state law contract rights. Because these secured claims are not provided for under the Plan, under 11 U.S.C § 1328(a),
                        Debtor will not receive a discharge of personal liability on these claims.

 Last Four Digits of Acct. No.                 Creditor                            Property/Collateral
 xxxx                                          Charles Schwab                      401(k) Loan
 xxxx                                          Current                             Choice Financial
 xxxx                                          Avenida De Flores                   6211 S Macdill Ave Unit 1,, Tampa, FL 33611
                                               Townhomesa
 xxxx                                          Reliable Credit                     2017 Fiat 500 60000 miles

                        (j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the following collateral/property. The
                        automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to any
                        codebtor as to these creditors upon the filing of this Plan.

 Last 4 Digits of Acct No.                             Creditor                                  Collateral/Property Description/Address
                                                                               3
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 Last 4 Digits of Acct No.                             Creditor                                     Collateral/Property Description/Address
 0155                                                  State Department Federal Credit              State Department Federal Credit Union Savings
                                                       Union                                        Account

                        (k) Secured Claims that Debtor Does Not Intend to Pay. Debtor does not intend to make payments to the following secured
                        creditors. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam
                        as to any codebtor with respect to these creditors upon the filing of this Plan. Debtor’s state law contract rights and defenses are
                        neither terminated nor abrogated. Because these secured claims are not provided for under the Plan, under 11 U.S.C § 1328(a),
                        Debtor will not receive a discharge of personal liability on these claims.

 Last Four Digits of Acct. No.                                 Creditor                                      Collateral
                                                                                                             Description/Address
 NONE-

           6.         LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the Trustee shall disburse payments to creditors under
leases or executory contracts prior to confirmation of the Plan, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim, or Debtor or Trustee has filed a proof of claim for the secured creditor/lessor under 11 U.S.C. § 501(c), and no
objection to the claim is pending. If Plan Payments are timely paid, payments to creditors/lessors under the Plan shall be deemed contractually paid on
time.

                        (a) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid and Arrearages Cured Through
                        the Plan Under 11 U.S.C. § 1322(b)(7). Debtor assumes the following leases/executory contracts and proposes the prompt cure of
                        any prepetition arrearage as follows. Under 11 U.S.C. § 1328(a)(1), if the claim of the lessor/creditor is not paid in full through the
                        Plan, Debtor will not receive a discharge of personal liability on these claims.

 Last Four Digits              Creditor/Lessor               Description of           Regular                                                  Arrearage and
 of Acct No.                                                 Leased Property          Contractual                                              Proposed Cure
                                                                                      Payment
 NONE-

                        (b) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid Directly by Debtor. Debtor assumes
                        the following lease/executory contract claims that are paid via automatic debit/draft from Debtor’s depository account and are to
                        continue to be paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay under
                        11 U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
                        creditors and lessors upon the filing of this Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract
                        rights. Because these leases/executory contracts are not provided for under the Plan, under 11 U.S.C § 1328(a), Debtor will not
                        receive a discharge of personal liability on these claims.

 Last Four Digits of Acct. No.                              Creditor/Lessor                             Property/Collateral
 NONE-

                        (c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal Leased Property. Debtor rejects the
                        following leases/executory contracts and will surrender the following leased real or personal property. The automatic stay under 11
                        U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
                        and lessors upon the filing of this Plan.

 Last Four Digits of Acct. No.                              Creditor/Lessor                             Property/Collateral to be
                                                                                                        Surrendered
 NONE-

          7.       GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed claims shall receive a pro rata share of the
balance of any funds remaining after payments to the above-referenced creditors or shall otherwise be paid under a subsequent Order Confirming Plan.
The estimated dividend to unsecured creditors shall be no less than $ 0.00 .

D.          GENERAL PLAN PROVISIONS:

            1. Secured creditors, whether or not provided for under the Plan, shall retain the liens securing such claims.

            2. Payments made to any creditor shall be based upon the amount set forth in the creditor’s proof of claim or other amount as allowed by order
               of the Court.

            3. If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property of the estate shall not vest in Debtor until the earlier
               of Debtor’s discharge or dismissal of this case, unless the Court orders otherwise. Property of the estate

                  (a) x         shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this case, unless the Court orders otherwise, or


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                  (b)         shall vest in Debtor upon confirmation of the Plan.

            4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate and belief and/or the proofs of claim as filed and allowed.
               Unless otherwise ordered by the Court, the Trustee shall only pay creditors with filed and allowed proofs of claim. An allowed proof of
               claim will control, unless the Court orders otherwise.

            5. Debtor may attach a summary or spreadsheet to provide an estimate of anticipated distributions. The actual distributions may vary. If the
               summary or spreadsheet conflicts with this Plan, the provisions of the Plan control prior to confirmation, after which time the Order
               Confirming Plan shall control.

            6. Debtor must timely file all tax returns and make all tax payments and deposits when due. (However, if Debtor is not required to file tax
               returns, Debtor must provide the Trustee with a statement to that effect.) For each tax return that becomes due after the case is filed, Debtor
               must provide a complete copy of the tax return, including business returns if Debtor owns a business, together with all related W-2s and
               Form 1099s, to the Trustee within 14 days of filing the return. Unless consented to by the Trustee or ordered by the Court, Debtor must turn
               over to the Trustee all tax refunds in addition to the Plan Payments. Debtor must not instruct the Internal Revenue Service or other taxing
               agency to apply a refund to the following year’s tax liability. Debtor must not spend any tax refund without first having obtained the
               Trustee’s consent or Court approval.

E.          NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy Procedure 3015(c). Note: Any nonstandard provisions of
            this Plan other than those set out in this Section are deemed void and are stricken.




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                                                                     CERTIFICATION

         By filing this document, the Attorney for Debtor, or Debtor, if not represented by an attorney, certifies that the wording and order of
the provisions in this Chapter 13 plan are identical to those contained in the Model Plan adopted by this Court, and that this Plan contains no
additional or deleted wording or nonstandard provisions other than any nonstandard provisions included in Section E.

SIGNATURE(S):

Debtor(s)
/s/ Xavier Charles Alexander Washington, II                                          Date September 3, 2024
Xavier Charles Alexander Washington, II

                                                                                     Date


Attorney for Debtor(s)
/s/ Sanad Hamad                                                                      Date September 3, 2024
Sanad Hamad




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